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 Clinton Brown, Self-Represented
 1431 Ocean Ave, Unit 413
 Santa Monica, CA 90401
 clinton@atlasinc.solar
 310-775-7990

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

  CLINTON BROWN,                                        Case No. 2:23-cv-02938-MEMF-KS

                      Plaintiff,                        SECOND AMENDED COMPLAINT

          v.                                            See ECF No. 89

  STEVE SMEAD,                                          Judge: Honorable Maame Ewusi-Mensah
                                                        Frimpong
                      Defendant.                        Chief Magistrate Judge: Karen L. Stevenson

                                                        JURY TRIAL DEMANDED

         Clinton Brown (“Plaintiff”) for his Complaint against Steve Smead (“Defendant”), alleges

 as follows:

                                       I. NATURE OF ACTION

         1.      This action arises from the Defendant’s violations of the Racketeer Influenced and

 Corrupt Organizations Act (“RICO”) using income derived from the collection of unlawful debt

 in the operation of an enterprise affecting interstate commerce, in violation of 18 U.S.C. § 1962(a).

 In the alternative, Defendant is liable under 18 U.S.C. § 1962(c) for conducting the affairs of an

 enterprise engaged in interstate commerce through the collection of unlawful debt, both causing

 financial harm to Plaintiff’s business and property.

                                   II. JURISDICTION AND VENUE

         2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, as this

 action arises under the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C.

 § 1961 et seq., a Federal law. Venue is proper under 28 U.S.C. § 1391(b) because a substantial

 part of the events or omissions giving rise to the claims occurred in this district or a substantial
 part of property that is the subject of the action is situated in this district.
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                                                 III. STANDING

          3.       Plaintiff has standing under 18 U.S.C. § 1964(c), having suffered injury to his

 business and property as a direct and proximate result of Defendant’s use and investment of income

 derived from unlawful debt, as defined by 18 U.S.C. § 1961(6), into an enterprise engaged in or

 affecting interstate commerce. Plaintiff’s injury is concrete, particularized, and redressable by this

 Court under 18 U.S.C. § 1964(c).

                                                  IV. PARTIES

          4.       Plaintiff Clinton Brown resides at 1431 Ocean Avenue, Unit 413, Santa Monica,

 California 90401.

          5.       Defendant Steve Smead resides at 352 E. Harvard Blvd., Santa Paula, California

 93060.

                                       V. FACTUAL ALLEGATIONS1

                                  A. Defendant’s Private Lending Business

          6.       Defendant Steve Smead has operated a private real estate lending business for over

 30 years, issuing loans to individuals and frequently foreclosing on properties, often demanding

 deeds-in-lieu of foreclosure.

          7.       Defendant has structured loans to evade California usury laws, utilizing states with

 more permissive usury statutes as a conduit for lending, even though the loans originated in
 California.

          8.       Defendant contracts and/or employs individuals and companies to facilitate his

 private lending business, oversee loan issuance, and enforce collection practices involving

 unlawful debt.




 1
   Plaintiff does not allege fraud. These claims arise from usury and the collection and use of interest payments that
 allegedly exceeded legal limits. They are pled under Rule 8, not Rule 9(b), because no fraud or misrepresentation is
 alleged herein.
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         9.        Defendant issued the unlawful debt loans in his individual capacity, but the

 Defendant relies on contracted and/or employed individuals and companies to coordinate and carry

 out his private real estate lending business functions.

         10.       Defendant does not run a “one-man show” and contracts and/or employs

 individuals and companies to coordinate and carry out the funding of his ‘legal’ loan issuance,

 collection, foreclosure, deed-in-lieu of foreclosure processes through and by those individuals

 and/or companies, while directing his ‘illegal’ loan issuance, collection, foreclosure, deed-in-lieu

 of foreclosure processes in his direct capacity through his personal/business bank account ending

 in 6236.

         11.       Defendant sent and received payments related to the issuance, servicing, and

 collection of unlawful debt through wire transfers, ACH payments, checks, and cashier’s checks,

 across state lines — including at least between California and Utah — using a personal and/or

 business bank account ending in 6236.

         12.       Defendant structured his lending practices to disguise unlawful debt collection,

 using escrow and servicing companies to record legal portions while directing unrecorded

 payments into his personal/business account ending in 6236.

         13.       Defendant structured loan contracts in ways that made repayment impossible so he

 could later seize the collateral.
         14.       Defendant used the issuance and collection of usurious loans as a means to acquire

 real property from Plaintiff.

         15.       In sum, Defendant Smead, together with the individuals and companies he

 employed or contracted with, formed an association-in-fact enterprise engaged in the issuance and

 collection of unlawful debt, the structuring of those transactions to appear lawful, and the

 subsequent use and investment of income derived from such unlawful debt to acquire Plaintiff’s

 real property through foreclosure. This enterprise operated continuously, shared a common

 purpose, and engaged in activities affecting interstate commerce.
               B. The November 10, 2020, Loan – Harper Lake Property (California Loan)
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        16.     On November 10, 2020, Defendant issued a $150,000 loan to Plaintiff, secured by

 a second deed of trust on 42829 Harper Lake Rd., Hinkley, California, a 400-acre solar property.

        17.     The recorded loan documents reflected an 8% annual interest rate for a term of two

 years, totaling $24,000 in interest.

        18.     In addition to the recorded terms, Defendant required Plaintiff to pay an additional

 $150,000 in unrecorded interest within one year, resulting in a total interest obligation of $174,000

 on a $150,000 loan—an effective interest rate exceeding 108%.

        19.     Defendant directed Chicago Title Company to record the $150,000 in unrecorded

 interest, but Chicago Title refused due to concerns about the excessive interest rate. Despite this,

 the transaction proceeded, and Plaintiff was still required to pay the unrecorded amount outside of

 escrow.

        20.     At the time of closing on November 10, 2020, Defendant collected $690.48 in

 prepaid interest from Plaintiff on the recorded loan, and an additional $1,000 in prepaid interest

 on the unrecorded loan.

        21.     Following the loan’s issuance, Plaintiff made monthly interest payments of $1,000

 on the $150,000 recorded loan, and $1,000 per month in interest payments on the $150,000

 unrecorded loan.

        22.     None of the interest payments made by Plaintiff were applied toward reducing the
 principal balance, and Plaintiff remained liable for the full $300,000.

        23.     After Plaintiff provided Defendant with an appraisal valuing the Harper Lake

 property at $1.1 million, Defendant acquired the first deed of trust and initiated foreclosure the

 following month.

        24.     In sum, Defendant Smead structured the Harper Lake loan to appear legitimate on

 its face while requiring unrecorded and usurious payments outside of escrow, resulting in an

 effective interest rate exceeding 108%. He structured the unlawful nature of the transaction by

 splitting the recorded and unrecorded obligations and ultimately used the resulting default as a
 means to acquire Plaintiff’s property—valued at $1.1 million, far in excess of the original loan
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 amount. This transaction reflects Defendant’s broader lending practices and exemplifies the

 unlawful debt collection scheme described herein.

              C. The June 29, 2021, Loan – Black Rock Cutoff Property (Utah Loan)

        25.     On June 29, 2021, Defendant issued a $200,000 loan to Plaintiff, secured by a deed

 of trust on 16390 S Black Rock Cutoff Rd., Fillmore, Utah, a 160-acre solar property.

        26.     The Black Rock Cutoff Property was appraised for $240,000 in June 2021 by

 Colliers International Valuation and Advisory Services.

        27.     Defendant directed $100,000 of interest from the prior unrecorded California loan

 to be recorded in Utah, exploiting Utah Code Ann. § 15-1-1(1), which permits higher interest rates

 than California law.

        28.     Defendant instructed TitleFirst Title Insurance Agency to falsely document that the

 $100,000 had been settled outside escrow, when in fact it had not.

        29.     The remaining $50,000 in unrecorded interest from the California loan remains

 unrecorded, with Defendant making repeated collection demands.

        30.     Defendant foreclosed on the Utah property after Plaintiff disclosed a confidential

 contract with HST, a solar company that later facilitated the Samsung Rooh LLC project. Plaintiff’s

 property, which had been positioned for inclusion in the project, was ultimately excluded as a result

 of the foreclosure, which was carried out using proceeds from unlawful debt.
        31.     The $100,000 in interest recorded in the June 29, 2021, Utah loan originated from

 the unrecorded interest in the November 10, 2020, California loan. That California loan carried an

 effective interest rate exceeding 108%, and the $100,000 represented a portion of the additional

 interest that was previously withheld from recording due to concerns raised by Chicago Title about

 its legality under California law. Defendant subsequently directed that this amount be recorded in

 Utah, despite its origin from a loan issued in California.

        32.     In sum, Defendant Smead used funds received from the California loan to help fund

 and structure the June 29, 2021, Utah loan, including the recording of $100,000 in interest that had
 previously been excluded from the California transaction. He instructed the title company to state
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 that this amount had been settled outside escrow, although it had not. Defendant continued to seek

 payment of additional interest from the California loan and later foreclosed on Plaintiff’s Utah

 property using the proceeds and structure of that loan. As a result of the foreclosure, Plaintiff lost

 the property, and a business opportunity connected to a solar energy project.

                           D. Loan Collection and Enforcement Practices

        33.     On January 31, 2022, Plaintiff initiated a payment of $6,668.00 to Defendant Steve

 Smead, sent from Plaintiff’s Chase Inc. account ending in 1338 to Defendant’s account ending in

 6236 via Standard ACH. The funds were scheduled for delivery by February 1, 2022, under

 transaction number 5320643625. Plaintiff included an addendum labeled “utah4months,”

 indicating the payment was for four months of interest on the Utah loan.

        34.     Defendant used the same account to collect unlawful debt payments and to fund

 foreclosure-related expenses, including payments to foreclosure trustees, escrow companies, legal

 representatives, and county recorder offices involved in processing title transfers, notices of

 default, and foreclosure filings.

        35.     On August 2, 2022, Defendant threatened to file Notices of Default (“NODs”)

 against Plaintiff’s properties if additional unlawful debt payments were not received by August 5,

 2022, and ultimately carried out that threat by filing the Notices of Default on August 25, 2022.

        36.     Between January 5, 2022, and December 18, 2022, Plaintiff and Defendant engaged
 in 29 phone calls totaling 644 minutes, including a 101-minute call on April 1, 2022, a 63-minute

 call on April 9, 2022, and a 69-minute call on December 18, 2022.

        37.     During these calls, Defendant pressured Plaintiff to waive his legal rights to contest

 foreclosure and threatened to pursue personal liability for the debt, despite the loans being secured

 by property. Defendant also used the calls to extract proprietary information about Plaintiff’s

 property and business operations. These communications were marked by intimidation, coercion,

 and psychological manipulation, during which Defendant routinely demeaned and threatened

 Plaintiff with foreclosure.
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        38.       In sum, Defendant used the same account that received loan payments to fund

 foreclosure-related expenses, including payments to trustees, escrow agents, attorneys, and county

 officials. He continued to collect payments tied to loan terms that included amounts previously

 unrecorded in California and threatened to initiate foreclosure proceedings unless additional

 payments were made. Defendant also engaged in a sustained campaign of phone calls during which

 he pressured Plaintiff to waive legal rights and made repeated threats of foreclosure. These

 communications were used to gather information about Plaintiff’s business operations and were

 marked by intimidation and coercive tactics.

             E. Defendant Used Income Collected from Unlawful Debt to Take Plaintiff’s Utah and

                                         California Property.

        39.       Defendant collected unlawful debt from Plaintiff in the form of interest payments

 that exceeded twice the enforceable legal rate under California law. Rather than merely retaining

 these funds, Defendant used the proceeds to fund foreclosure-related expenses, including payments

 to escrow companies, title companies, foreclosure trustees, legal counsel, and county recorder

 offices. These payments were essential to completing the foreclosure process, demonstrating that

 Defendant used and invested proceeds from unlawful debt collection in order to acquire Plaintiff’s

 property.

        i. Utah Property
        40.       Defendant was aware that Plaintiff’s Utah property held substantial commercial

 value, including a valid solar development permit and an exclusive transmission right-of-way.

 Defendant’s refusal to accept reasonable repayment terms, combined with his decision to

 foreclose, indicates that his objective was not merely debt recovery, but the acquisition of a

 commercially valuable asset using proceeds derived from unlawful debt collection.

        41.       Defendant’s foreclosure was not an automatic legal process; it required specific

 financial transactions, including payments to escrow agents, foreclosure trustees, title companies,

 attorneys, and county recorders. These payments were made using funds collected from the alleged
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 unlawful debt. Without the use of those funds, the foreclosure could not have been completed, and

 Plaintiff would not have lost ownership of the Utah property.

        42.       Defendant’s use of proceeds derived from allegedly unlawful debt directly caused

 Plaintiff’s financial injury. Plaintiff is the direct and exclusive victim of Defendant’s conduct. The

 resulting harm is specific, quantifiable, and does not require complex apportionment among

 multiple parties. The wrongful foreclosure of the Utah property, carried out using proceeds from

 unlawfully collected interest payments, caused Plaintiff to lose both the property and a business

 opportunity valued at $6,135,068.21.

        43.       Defendant collected the alleged unlawful debt from Plaintiff in the form of

 excessive interest that far exceeded twice the enforceable limit under California law. Defendant

 did not merely retain these funds; he used the proceeds from the alleged unlawful debt collection

 to pay for foreclosure proceedings against Plaintiff’s Utah property, including, but not limited to:

 Payments totaling $120.00 to Millard County Recorder between June 29, 2021, and March 7, 2023,

 for recording and foreclosure filing fees.

              •   A payment of $40.00 to Millard County Recorder on June 29, 2021, for the Trust

                  Deed recording with TitleFirst Title Insurance Agency, LLC (Entry #00215042, B:

                  703, P: 381).

              •   A payment of $40.00 to Millard County Recorder on January 26, 2023, for
                  foreclosure recording fees with TitleFirst Title Insurance Agency, LLC (Entry

                  #00224197, B: 739, P: 253).

              •   A payment of $40.00 to Millard County Recorder on March 7, 2023, for additional

                  foreclosure recording fees with TitleFirst Title Insurance Agency, LLC, notarized

                  by Natalia Van Wyk, Notary Public, State of Utah (Entry #00224646, B: 740, P:

                  870).

        ii. California Property

        44.       Defendant collected the alleged unlawful debt from Plaintiff in the form of
 excessive interest that far exceeded twice the enforceable limit under California law. Defendant
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 did not merely retain these funds; he used the proceeds from the alleged unlawful debt collection

 to pay for foreclosure proceedings against Plaintiff’s California property, including, but not limited

 to:

                •   Payments totaling $1,675.20 to Peak Foreclosure Services, deposited into

                    account ending in 4152, on or around August 25, 2022, for processing the

                    Notice of Default and handling the foreclosure process on the California

                    property.

                •   A payment of $500 to account ending in 4152, on or around August 25, 2022,

                    for foreclosure legal fees paid to a law firm associated with Peak Foreclosure

                    Services for processing the Notice of Default and handling the foreclosure

                    process on the California property.

         45.    Payments totaling $1,079.80 to San Bernardino County between November 10,

 2020, to January 31, 2023, for recording, assignment of the first deed of trust and foreclosure filing

 fees.

                •   A payment of $114.00 to San Bernardino County Recorder on January 31, 2023,

                    to facilitate the foreclosure process (DOC# 2023-0021452).

                •   A payment of $104.00 to San Bernardino County Recorder on December 5,

                    2022, for title transfer costs related to the wrongful foreclosure (DOC# 2022-
                    0390246).

                •   A payment of $110.00 to San Bernardino County Recorder on August 25, 2022,

                    to process the Notice of Default and/or foreclosure sale (DOC# 2022-0291905).

                •   A payment of $110.00 to San Bernardino County Recorder on August 25, 2022,

                    for an additional foreclosure filing (DOC# 2022-0291892).

                •   A payment of $32.00 to San Bernardino County Recorder on July 19, 2022, for

                    the Corporation Assignment of Deed of Trust (DOC# 2022-0251090).
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                •   A payment of $35.00 to San Bernardino County Recorder on November 10,

                    2020, for an assignment related to American Pacific Investments (DOC# 2020-

                    0446978).

                •   A payment of $574.80 to San Bernardino County Recorder on November 10,

                    2020, for an escrow-related filing under Escrow Order No. 7102012953 (DOC#

                    2020-0446977).

        These payments, made using proceeds derived from the alleged unlawful debt collection,

 were directly used to complete the foreclosure process and deprive Plaintiff of ownership of the

 California property.

        iii. Utah and California Property

        46.     Defendant, having received income derived from the collection of the alleged

 unlawful debt, used a portion or all of that income not merely for personal gain, but to further

 expand and sustain his private lending and foreclosure enterprise, including funding new predatory

 loan agreements and executing additional foreclosure actions.

        47.     Defendant's use of the alleged unlawful debt proceeds directly resulted in Plaintiff’s

 financial injury, including the foreclosure of his Utah and California properties, which would not

 have occurred absent the use of unlawfully collected funds that were used for foreclosure-related

 expenses.
        48.     In sum, Defendant Steve Smead used interest payments collected from Plaintiff—

 at effective rates exceeding 108%—to fund and execute the foreclosure process through which he

 obtained Plaintiff’s properties. These funds were used to pay for title transfers, escrow services,

 foreclosure trustee fees, legal filings, and county recording fees necessary to complete the

 foreclosure proceedings. The California and Utah properties had substantial commercial value and

 were essential to Plaintiff’s solar development business. As a result of these foreclosures, Plaintiff

 lost ownership of both properties and suffered significant financial harm to his business and

 property.
                        F. Plaintiff’s Exclusion from the Utah Solar Farm Project
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        49.     Plaintiff’s Utah property was a critical component of several proposed solar farm

 projects and was the only parcel in the project area that had already received a permit for solar

 energy development.

        50.     Plaintiff’s property was also the only parcel granted an exclusive transmission

 right-of-way, which is necessary to connect solar output to the power grid.

        51.     After Defendant foreclosed on Plaintiff’s property using proceeds from the alleged

 unlawful debt, the Samsung Rooh LLC solar project continued, but Plaintiff’s parcel was excluded

 in the final contractual agreements.

        52.     As a result of losing the permitted property, Plaintiff was unable to participate in

 the ongoing project and lost the opportunity to execute a solar energy development agreement

 valued at $6,135,068.21.

        53.     Plaintiff’s exclusion from the solar farm project was the direct and foreseeable

 result of Defendant’s alleged unlawful conduct. But for the foreclosure, Plaintiff would have

 retained his position in the development and received the economic benefits associated with the

 Samsung Rooh LLC project.

        54.     In sum, Defendant Smead engaged in a scheme to structure and collect unlawful

 debt, obtaining proceeds through excessive interest charges, coercive foreclosure threats, and

 unrecorded payment demands. He then reinvested those proceeds into the enterprise by funding
 foreclosure-related expenses, including legal fees, title recordings, and trustee costs. This use and

 investment of income derived from unlawful debt directly enabled the foreclosure of Plaintiff’s

 property and caused his exclusion from a commercial solar project that continues to generate

 revenue for others.

                                        G. The Malibu Property

        55.     Defendant loaned $300,000 to Plaintiff on June 1, 2021, secured by real property

 located at 21472 Calle del Barco, Malibu, California 90265, at an interest rate of 12%.

        56.     Defendant imposed an additional 5% interest rate during the forbearance period,
 which lasted approximately from September 2021 through August 2022.
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        57.     Defendant demanded that the $50,000 unrecord interest that remained from the

 California and Utah loans be recorded on the Malibu loan, but it was never recorded by Superior

 Loan Servicing, the loan service provider.

        58.     Although the additional $50,000 in unrecorded interest from the prior California

 and Utah loans was never officially recorded against the Malibu Property, Defendant demanded

 that it be tied to the Malibu loan as a condition of forbearance. Given that the Malibu Property was

 appraised at $450,000 in January 2021, Defendant and his agents functionally treated the entire

 property as collateral for both the recorded and unrecorded portions of the debt. Despite Superior

 Loan Servicing never formally recording the additional amount, Defendant assumed, enforced,

 and relied upon the property’s equity as backing for the total outstanding debt, including the

 unrecorded amount. As a result, the effective interest rate on the Malibu loan exceeded 20%.

        59.     As a direct result of Defendant scheme, Plaintiff was forced to pledge the alleged

 unlawful interest of $50,000 directly to the Malibu property, and when Plaintiff could no longer

 comply with the payment demands, Defendant used the enterprise’s legal foreclosure mechanisms

 to take Plaintiff’s Malibu property.

        60.     In sum, Defendant Smead structured Plaintiff’s loans so that the same $150,000 in

 unlawful interest—originally associated with the Harper Lake loan—was not only collected, but

 later applied across multiple properties, including the Black Rock Cutoff and Malibu properties.
 Defendant required that portions of the unlawful interest be incorporated into new or existing loan

 obligations, including the Malibu loan, even though those amounts were never formally recorded.

 This arrangement allowed Defendant to recycle income derived from unlawful debt into additional

 loan demands and foreclosure actions. As a result, Plaintiff was harmed not only by the initial

 collection of unlawful interest, but also by Defendant’s continued use and reinvestment of those

 funds to initiate and complete further foreclosures, including the taking of the Malibu property.

                                        VI. DECLARATIONS
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           61.   The Declarations of Erick Ordaz and Sean Chaudhuri, attached hereto as Exhibits

 A and B, respectively, support and corroborate the factual allegations set forth in this Second

 Amended Complaint and are incorporated herein by reference pursuant to Rule 10(c).

                                        VII. LEGAL CLAIM

  COUNT I: Violation of the Racketeer Influenced and Corrupt Organizations Act (RICO) –

                                         18 U.S.C. § 1962(a)

                           (Use of Income Derived from Unlawful Debt)

           62.   Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

 herein.

           63.   Defendant, having received income derived from the collection of unlawful debt in

 which he participated as a principal, used a portion of that income to finance foreclosure

 proceedings and thereby acquired Plaintiff’s real property, in violation of 18 U.S.C. § 1962(a).

           64.   Defendant is liable for violating 18 U.S.C. § 1962(a), which prohibits any person

 who has received income derived, directly or indirectly, from the collection of unlawful debt from

 using or investing any part of that income or the proceeds of such income in the acquisition,

 establishment, or operation of an enterprise engaged in or affecting interstate or foreign commerce.

           65.   Defendant received income, directly or indirectly, from the collection of unlawful

 debt, as defined in 18 U.S.C. § 1961(6), because the debt violated the interest rate limitations set
 forth in California Constitution Article XV, Section 1.

           66.   Defendant used or invested a portion of that income to fund the operations of a real

 estate lending and foreclosure enterprise, including the acquisition of collateral interests in

 Plaintiff’s properties and the execution of foreclosure proceedings.

           67.   The Defendant’s enterprise operated across state lines and engaged in activities

 affecting interstate commerce, including transactions involving real property in California and

 Utah, the use of interstate wire transfers, and communications regarding multi-state foreclosure

 actions.
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           68.   As a direct and proximate result of Defendant’s use of income derived from the

 collection of unlawful debt, Plaintiff has suffered economic damages totaling $6,135,068.21,

 representing lost profits from the Samsung Rooh LLC solar farm project.

           69.   Defendant’s repeated use of unlawfully collected interest payments to fund,

 operate, and expand a private lending and foreclosure enterprise constitutes a violation of 18

 U.S.C. § 1962(a). The enterprise served as the vehicle through which Defendant reinvested

 unlawful proceeds to acquire Plaintiff’s properties and inflict ongoing economic injury.

                                  COUNT II: (Alternative Claim)

       Violation of the Racketeer Influenced and Corrupt Organizations Act (RICO) –

                                         18 U.S.C. § 1962(c)

                                   (Collection of Unlawful Debt)

           70.   Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

 herein.

           71.   Defendant is liable for violating 18 U.S.C. § 1962(c), which makes it unlawful for

 any person employed by or associated with an enterprise engaged in, or affecting, interstate

 commerce to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs

 through the collection of unlawful debt.

           72.   Defendant was associated with and participated in the conduct of the affairs of an
 enterprise, as defined in 18 U.S.C. § 1961(4), which included the use of escrow companies, title

 agents, foreclosure trustees, legal counsel, and other agents to facilitate lending, debt collection,

 and foreclosure activities across state lines

           73.   Defendant collected unlawful debt, as defined in 18 U.S.C. § 1961(6), because the

 debt carried an interest rate at least twice the enforceable legal limit under California Constitution

 Article XV, Section 1 and California Civil Code § 1916-3.

           74.   Defendant enforced and collected unlawful debt by imposing usurious loan terms,

 threatening foreclosure, initiating actual foreclosure proceedings, and demanding interest
 payments that were never formally recorded. Defendant structured these interest obligations to
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 appear lawful while continuing to demand payment under terms that violated applicable usury

 laws.

         75.    As a direct and proximate result of Defendant’s collection of unlawful debt,

 Plaintiff suffered economic injury to his business and property, including the loss of the Harper

 Lake, Black Rock Cutoff, and Malibu properties and associated business opportunities.

                                  VIII. PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that this Court:

         1.     Award Plaintiff economic damages for injury to his business in the amount of

 $6,135,068.21, representing lost profits from the Utah Solar Farm project, as a direct and

 proximate result of Defendant’s violations of 18 U.S.C. § 1962(a) and/or § 1962(c). Pursuant to

 18 U.S.C. § 1964(c), Plaintiff is entitled to treble damages totaling $18,405,204.63, plus post-

 judgment interest.

         2.     Award Plaintiff damages for injury to his property in the amount of $1,790,000,

 representing the appraised value of the Utah, Harper, and Malibu properties at the time of

 foreclosure, each of which was foreclosed upon as a direct and proximate result of Defendant’s

 use and collection of unlawful debt in violation of 18 U.S.C. § 1962(a) and/or § 1962(c). Pursuant

 to 18 U.S.C. § 1964(c), Plaintiff is entitled to treble damages totaling $5,370,000, plus post-

 judgment interest.
         3.     Award Plaintiff reasonable attorneys’ fees and costs incurred in bringing this action,

 as permitted under 18 U.S.C. § 1964(c).

         4.     Grant pre-judgment interest, and such other and further relief as the Court may

 deem just and proper.

                                  DEMAND FOR JURY TRIAL

                 The Plaintiff hereby demands a jury trial for all claims so triable.
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 Dated: March 23, 2025                                                    /s/ Clinton Brown, Self-Represented 2
                                                                          1431 Ocean Ave, Unit 413
                                                                          Santa Monica, CA 90401
                                                                          clinton@atlasinc.solar
                                                                          310-775-7990


                         CC: All Counsel of Record (via ECF) on March 23, 2025




 2
   “I declare (or certify, verify, or state) under penalty of perjury under the laws of the United States of America that
 the foregoing is true and correct.” See 28 U.S.C. § 1746
